                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE



 UNITED STATES OF AMERICA                     )
                                              )
 v.                                           )   CASE NO. 3:10-CR-56-PLR
                                              )
 Quinlan Anthony Phillips                     )




                             MEMORANDUM AND ORDER


        This matter is before the court on the defendant’s motion for sentence reduction

 pursuant to Amendment 782 to the United States Sentencing Guidelines [R. 302, 304].

 The government has responded deferring to the court’s discretion whether and to what

 extent to reduce defendant’s sentence [R. 305]. The United States Probation Office has

 provided the court with a memorandum regarding retroactivity of Amendment 782. The

 defendant is presently scheduled for release on January 21, 2017.

        The defendant was convicted of conspiring to distribute and possess with intent to

 distribute at least 50 grams of cocaine base in violation of 21 U.S.C. §§ 846, 841(a)(1)

 and (b)(1)(A). Defendant was held responsible for 840 grams of crack cocaine.

        At sentencing, after a two-level safety valve reduction and a three-level reduction

 for acceptance of responsibility, the defendant’s total offense level was 29, with a

 criminal history category of I, resulting in an advisory guideline range of 87-108 months’

 imprisonment. The government filed a motion for downward departure in light of the




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 defendant’s substantial assistance pursuant to USSG § 5K1.1. The court granted the

 motion and sentenced defendant to 74 months imprisonment, 15 percent below the

 bottom of the guideline range [R. 241].

       Amendment 782 reduces the guideline range applicable to defendant. Pursuant to

 Amendment 782, defendant’s base offense level is 27, with a criminal history category I,

 resulting in an amended guideline range of 70-87 months.           Giving defendant a

 comparable adjustment for substantial assistance (15%), and taking into account the

 policy statements set forth at USSG § 1B1.10 and the sentencing factors set forth in 18

 U.S.C. § 3553(a), it is hereby ORDERED that the defendant’s motion [R. 302, 304] is

 GRANTED, and the defendant’s sentence is reduced to 59 months.

       If this sentence is less than the amount of time the defendant has already served,

 the sentence is reduced to a “time served” sentence. See USSG § 1B1.10(b)(2)(C).

       Except as provided above, all provisions of the judgment dated December 1, 2011,

 shall remain in effect. The effective date of this order is November 2, 2015. See

 USSG § 1B1.10(e)(1).

       IT IS SO ORDERED.

       Enter:




                                                ____________________________________
                                                UNITED STATES DISTRICT JUDGE




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